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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CAROL BLACK,
                                    Petitioner,                               20 CIVIL 3055 (LGS)

                 -against-                                                          JUDGMENT
THOMAS DECKER, et al.,
                                    Respondents.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated July 23, 2020, Petitioner’s request for a Writ of

Habeas Corpus is GRANTED in part. By August 6, 2020, Respondents shall provide an

individualized bond hearing to Petitioner to determine whether his detention is justified. Should they

fail to provide such a hearing, Respondents shall release Petitioner from detention. The Government

shall file a status letter to update the Court about Petitioner’s status by August 7, 2020; accordingly,

this case is closed.

DATED: New York, New York
       July 24, 2020


                                                                      RUBY J. KRAJICK
                                                                   _________________________
                                                                        Clerk of Court
                                                             BY:
                                                                   _________________________
                                                                         Deputy Clerk
